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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )          8:10CR146
                     Plaintiff,                  )
                                                 )
       vs.                                       )           ORDER
                                                 )
JANNA WASKO,                                     )
                                                 )
                     Defendant.                  )


       This matter is before the court on the motion of defendant Janna Wasko (Wasko)
for a modification of his release conditions (Filing No. 246). Upon consideration, the
motion will be granted and Wasko shall be permitted to possess a hunting rifle for the
purpose of participating in hunting deer for the current deer hunting season as long as she
complies with the rules and regulations for deer hunting.


       IT IS SO ORDERED.


       DATED this 26th day of October, 2011.

                                                 BY THE COURT:


                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
